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                      EXHIBIT 3
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Peter A. Bicks                                                September 20, 2016
Katherine L. Maco
Orrick, Herrington
& Sutcliffe LLP
51 West 52nd Street
New York, New York 10019
Attorneys for KBC Bank NV

Re:     Formal Demand for Immediate Possession of the $35,110.72 and Euro 56,414.73
        Conversion Claim Against KBC Bank N.V. (Among Other Claims)

Dear Mr. Bicks,
Dear Ms. Maco,

         Midamines Sprl (Congo) is the original owner of the specific chattel, property and funds of $35,110.72
and Euro 56,414.73 and has at all times been the owner – which property, cash and specific money was in
Midamines Sprl (Congo) bank account at Antwerp Diamond Bank (closed since 2014) and Midamines Sprl
(Congo) property/money was sent by ADB to KBC Bank NV (“KBC”) in 2012. Midamines Sprl (Congo)
property and funds have been unlawfully converted by KBC. The elements of conversion apply as follows:

(1) Midamines Sprl (Congo)’s property/funds are unlawfully and wrongfully converted and unlawfully and
    wrongfully withheld by KBC in New York and Brussels since 2012. KBC’s conduct is the unauthorized
    and wrongful assumption of control, dominion, or ownership by KBC over the property/specific
    money/funds of Midamines Sprl (Congo) of $35,110.72 and Euro 56,414.73.

(2) Midamines Sprl (Congo) has a right to its property/specific funds/money of $35,110.72 and Euro
    56,414.73.

(3) Midamines Sprl (Congo) has a right to immediate possession of its property/specific funds/money of
    $35,110.72 and Euro 56,414.73.

(4) Midamines Sprl (Congo) makes formal demand for payment and return of its property/specific
    funds/money of $35,110.72 and Euro 56,414.73.

        KBC has no claim whatsoever and no right to possession of the property belonging to Midamines Sprl
(Congo) which is specific chattel, specific property, specific funds and specific money of $35,110.72 and Euro
56,414.73, which belong to Midamines Sprl (Congo).

          Please advise KBC Bank N.V. (“KBC”) to return Midamines Sprl (Congo) funds immediately with
interest for the past four years. If KBC refuses to return the property/funds then Midamines Sprl (Congo) will
have no choice but to file its conversion claim, among other legitimate claims against KBC. This a formal and
pre-lawsuit demand for payment and return of Midamines Sprl Congo’s funds and for possession thereof.

         In addition, Midamines Sprl Ltd., the Illinois corporation, will have no choice but to file a claim
against KBC Bank N.V. in the federal court in Illinois. As you are aware, Midamines Sprl Ltd., the Illinois
corporation, deposited the bank checks, which were unlawfully reversed and/or stopped by KBC Bank N.V. in
violation of the banking laws and the Uniform Commercial Code (“U.C.C.”). The causes of action against KBC
include, but are not limited to, conversion, unjust enrichment, statutory U.C.C. violations and a declaratory
judgment action. We look forward to a prompt and amicable resolution with KBC Bank N.V., and we look
forward to hear from you on/or before September 26, 2016. Thank you for your cooperation in this matter.

Very Truly Yours,
s/ Hassan A. Abbas
